

Matter of Diaz v Bailey (2018 NY Slip Op 07952)





Matter of Diaz v Bailey


2018 NY Slip Op 07952


Decided on November 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 20, 2018

Renwick, J.P., Richter, Tom, Kern, Oing, JJ.


7667 453/11 -3402] 154/18

[*1]In re Gilberto Diaz, Petitioner,
vPatricia J. Bailey, et al., Respondents.


Gilberto Diaz, petitioner pro se.
Cyrus R. Vance, Jr., District Attorney, New York (Stephen J. Kress of counsel), for respondents.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 20, 2018
DEPUTY CLERK








